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UNITED STATES DISTRICT COURT                                             ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                            DOC #:
                                                                         DATE FILED: 1/11/2021
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 UNITED STATES OF AMERICA                                       :
                                                                :        20-CR-318 (VEC)
                 -against-                                      :
                                                                :            ORDER
 MARCOS LIMON ALVARADO,                                         :
                                                                :
                                          Defendant.            :
 ------------------------------------------------------------   X

VALERIE CAPRONI, United States District Judge:

        WHEREAS Defendant’s sentencing is scheduled for January 28, 2021;

         IT IS HEREBY ORDERED THAT: Due to the COVID-19 pandemic, Defendant’s

sentencing is adjourned to March 18, 2021 at 2:00 p.m. Sentencing submissions are due by

March 4, 2021. The Court would like to conduct the resentencing in-person and is hopeful that

it will be safe to do so without undue risk to the participants by mid-March.




SO ORDERED.

Dated: January 11, 2021
      New York, NY
                                                                    ______________________________
                                                                          VALERIE CAPRONI
                                                                          United States District Judge
